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                     EXHIBIT F
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                                                                                                                                                LarsonP3000091
To: Celeste Ng                                                                                                                                                                  CD
                                                                  I don't think I have legal issues either, and SERIOUSLY!! FUCK HER! I think that if she ACTUALLY wanted to
                                                                  sue me, she would have contacted me already, right?

                                                                                                Got it. And can you plagiarize from a FB post?? This is something I don't know

You can only plagiarize if you took her intellectual property and pass it off as yours. And in fiction there's a
pretty wide leeway

I don't have your story in front of me but it didn't look to me like you took words directly from her letters.

Can I please call her and just yell FUUUUUUUUUCK YOU

                                                                 I don't think I did either, but I'm worried that I accidentally did. This is what Whitney was in a panic about do
                                                                 - when you research for fiction, no one ever tells you to like "cite" your details! Gah!

                                                                                   But whatever. I have never said "fuck you" to anyone but that would feel amazing right now

Again, make her do the work. She needs to cite which lines she thinks are "hers" and show you her
"originals."

Do NOT add an acknowledgement to this story or I swear to god ...

Wait you have never said fuck you to anyone?!

                                                                                                    Yes yes yes- I am all game for this, and hope to be soothed by this lawyer.

                                                                                                                                                            Never! It's a tragedy!

Ugh I just read dawn's note that Calvin sent and I barfed in my mouth a little

THIS IS YOUR TIME SONYA

IT WILL NEVER BE SO RICHLY DESERVED

                                                                                                                                             I know, right?? She is so... HERSELF

                                                                                                I'm going to write it in my journal!! FUCK YOU, DAWN DORLAND!!! FUCK YOU!!

Also I just remembered her motherfucking pitbull milking story and I just want to smack her in her smug
self-satisfied face
